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EXHIBIT A
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 OFFICE OF THE PROVOST
     & ACADEMIC AFFAIRS
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March 2, 2021

Dear Dr. Jackson,

Thank you for your response to the Ad Hoc Panel’s Report of Review of Conception and Produc-
tion of Vol. 12 of the Journal of Schenkerian Studies (JSS). I was heartened that you accepted some of
the panel’s recommendations, including: 1) the publication of a clear and transparent explanation for
the journal’s editorial process; 2) the appointment of an editor-in-chief who is a full-time tenured
faculty member; and 3) the inclusion of a conflict-of-interest statement concerning submissions by
editorial staff and members of the editorial board. I also note that you did not address the panel’s
fourth recommendation, which concerns issues of governance and oversight. Furthermore, you re-
served the right for the journal to publish contributions that are not peer reviewed. It is important
that faculty in the division and college who have an interest in the journal share an understanding of
the credibility these changes will bring to the journal.

The university is moving forward with a plan to ensure that the JSS remains a prominent venue for
peer-reviewed scholarship of the highest quality. In consultation with Dean John Richmond and
Chair Benjamin Brand, I am charging the Division of Music History, Theory, and Ethnomusicology
to launch a national search for a new editor-in-chief who is a full-time tenured faculty member pref-
erably at an R1 university or comparable conservatory of music. This editor then will determine the
membership of the JSS editorial board, recruiting new members as needed and renewing existing
members as appropriate. In close collaboration with the board, the new editor will establish clear
and transparent guidelines concerning the governance structure of the journal and its editorial, re-
view, and publication practices, including the board’s oversight role and whether the journal will
publish contributions that are not peer reviewed. I expect these guidelines to comport well with the
publication standards of A Short Guide to Ethical Editing for New Editors of the Council for Publication
Ethics. The editor and board will be responsible for defining a timeline, selection of articles and
other details related to the publication of the next volume of the JSS. The editor and board also will
consult with Dean Richmond and Chair Brand to define the future relationship of the JSS with the
College of Music, the Division of Music History, Theory, and Ethnomusicology, and the UNT
Press; and on the opportunities for our graduate students to participate in the editorial process.

Dean Richmond, Chair Brand, and I are eager to see the Journal of Schenkerian Studies continue to
make important contributions to the discipline of music theory. We are confident it will do so
through the university’s course of action outlined above. Thank you, once again, for participating in
this review process.

Sincerely,




Jennifer Cowley, PhD
Provost and Vice President for Academic Affairs
